 

Case 2:11-cv-03109-JPM-dkv Document 37 Filed 09/18/12 Pagelof2 PagelD 182

United States District Court for the lester
District of “Ze, EIVED

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Plaintiff,
Vs. CASE NO. of [] -@V= 09/09 SHIN -AKV

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Defendant.

NOTICE OF APPEAL

Noties ts hereby given that Jame/la QD. Lerner. , hereby appeal

(here name all parties taking the appeal)

to the Limited States Court of Appeals for the: Sixth Circuit from Clasiag Lats LLLE Claim anol granting
(the final judgment) (from an

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order (Geseribimg 1)

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for: Kameda D Farmer

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